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                                      FOR PUBLICATION

                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT


                  KRISTEN BIEL,                                      No. 17-55180
                                        Plaintiff-Appellant,
                                                                       D.C. No.
                                       v.                           2:15-cv-04248-
                                                                       TJH-AS
                  ST. JAMES SCHOOL, A CORP., a
                  California non-profit corporation;
                  DOES, 2–50, inclusive; ST. JAMES                     OPINION
                  CATHOLIC SCHOOL, a California non-
                  profit corporation; DOE 1,
                                  Defendants-Appellees.



                          Appeal from the United States District Court
                             for the Central District of California
                           Terry J. Hatter, District Judge, Presiding

                              Argued and Submitted July 11, 2018
                                     Pasadena, California

                                     Filed December 17, 2018

                         Before: D. Michael Fisher, * Paul J. Watford,
                          and Michelle T. Friedland, Circuit Judges.


                     *
                       The Honorable D. Michael Fisher, United States Circuit Judge for
                 the U.S. Court of Appeals for the Third Circuit, sitting by designation.
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                                   Opinion by Judge Friedland;
                                    Dissent by Judge Fisher


                                           SUMMARY **


                                  Employment Discrimination

                    The panel reversed the district court’s summary
                 judgment in favor of the defendant and remanded in an
                 employment discrimination action under the Americans with
                 Disabilities Act.

                     Based on the totality-of-the-circumstances test
                 articulated by the Supreme Court in Hosanna-Tabor
                 Evangelical Lutheran Church & School v. E.E.O.C., 565
                 U.S. 171 (2012), the panel held that the First Amendment’s
                 ministerial exception to generally applicable employment
                 laws did not bar a teacher’s claim against the Catholic
                 elementary school that terminated her employment. The
                 panel concluded that she did not qualify as a minister for
                 purposes of the exception. The panel considered whether the
                 school held the teacher out as a minister, whether her title
                 reflected ministerial substance and training, whether she
                 held herself out as a minister, and whether her job duties
                 included important religious functions.

                     Dissenting, Judge Fisher wrote that, considering all of
                 the circumstances of the teacher’s employment, she was a
                 “minister” for the purposes of the ministerial exception

                     **
                        This summary constitutes no part of the opinion of the court. It
                 has been prepared by court staff for the convenience of the reader.
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                 because of the substance reflected in her title and the
                 important religious functions she performed.


                                         COUNSEL

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                 Curiae Equal Employment Opportunity Commission.


                                         OPINION

                 FRIEDLAND, Circuit Judge:

                     Plaintiff Kristin Biel was fired from her fifth grade
                 teaching position at St. James Catholic School after she told
                 her employer that she had breast cancer and would need to
                 miss work to undergo chemotherapy. She now appeals the
                 district court’s summary judgment ruling that her subsequent
                 lawsuit against St. James under the Americans with
                 Disabilities Act (“ADA”) was barred by the First
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                 Amendment’s “ministerial exception” to generally
                 applicable employment laws. We hold that, assessing the
                 totality of Biel’s role at St. James, the ministerial exception
                 does not foreclose her claim. We therefore reverse and
                 remand for further proceedings.

                                               I.

                     Biel received a bachelor’s degree in liberal arts and a
                 teaching credential from California State University,
                 Dominguez Hills. After graduating in 2009, Biel worked at
                 two tutoring companies and as a substitute teacher at several
                 public and private schools. St. James, a Roman Catholic
                 parish school within the Archdiocese of Los Angeles, hired
                 Biel in March 2013 as a long-term substitute teacher. At the
                 end of that school year, St. James’s principal hired Biel as
                 the school’s full-time fifth grade teacher. Biel is herself
                 Catholic, and St. James prefers to hire Catholic teachers, but
                 being Catholic is not a requirement for teaching positions at
                 St. James. Biel had no training in Catholic pedagogy at the
                 time she was hired. Her only such training was during her
                 tenure at St. James: a single half-day conference where
                 topics ranged from the incorporation of religious themes into
                 lesson plans to techniques for teaching art classes.

                     Biel taught the fifth graders at St. James all their
                 academic subjects. Among these was a standard religion
                 curriculum that she taught for about thirty minutes a day,
                 four days a week, using a workbook on the Catholic faith
                 prescribed by the school administration. Biel also joined her
                 students in twice-daily prayers but did not lead them; that
                 responsibility fell to student prayer leaders. She likewise
                 attended a school-wide monthly Mass where her sole
                 responsibility was to keep her class quiet and orderly.
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                      Biel’s contract stated that she would work “within [St.
                 James’s] overriding commitment” to Church “doctrines,
                 laws, and norms” and would “model, teach, and promote
                 behavior in conformity to the teaching of the Roman
                 Catholic Church.” St. James’s mission statement provides
                 that the school “work[s] to facilitate the development of
                 confident, competent, and caring Catholic-Christian citizens
                 prepared to be responsible members of their church[,]
                 local[,] and global communities.” According to the school’s
                 faculty handbook, teachers at St. James “participate in the
                 Church’s mission” of providing “quality Catholic education
                 to . . . students, educating them in academic areas and in . . .
                 Catholic faith and values.” 1 The faculty handbook further
                 instructs teachers to follow not only archdiocesan curricular
                 guidelines but also California’s public-school curricular
                 requirements.

                     In November 2013, Biel received a positive teaching
                 evaluation from St. James’s principal, Sister Mary Margaret,
                 measuring her performance in aspects both secular (e.g., her
                 lesson planning strategies) and religious (e.g., displaying
                 Church symbols in her classroom). The principal’s written

                       1
                         The dissent quotes extensively from the faculty handbook to
                 support its arguments about the extent of Biel’s religious role. It does so
                 as if there is no dispute that the handbook imposed binding requirements
                 on Biel’s employment and provided an accurate depiction of her duties.
                 But St. James did not rely on the faculty handbook in support of its
                 motion for summary judgment, which might have been because the
                 handbook’s force and effect were contested—it is at least unclear what
                 role, if any, the handbook played at the school and whether it actually
                 reflected what teachers at the school were expected to do in practice. For
                 example, Biel’s employment agreement referenced “policies in the
                 faculty handbook,” but said that “the policies do not constitute a
                 contractual agreement with [Biel].” At this stage of the proceedings, any
                 factual uncertainties must be viewed in Biel’s favor. See Fresno Motors,
                 LLC v. Mercedes Benz USA, LLC, 771 F.3d 1119, 1125 (9th Cir. 2014).
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                 evaluation praised Biel’s “very good” work promoting a safe
                 and caring learning environment, noted that she adapted her
                 teaching methods to accommodate her students’ varied
                 learning styles, and observed that she encouraged social
                 development and responsibility.        The principal also
                 identified some areas for improvement: for instance, Biel’s
                 students had many items on their desks and two students
                 were coloring in the pages of their books.

                     Less than six months after that evaluation—which was
                 her first and only formal evaluation at St. James—Biel
                 learned that she had breast cancer and informed the school
                 administration that her condition required her to take time
                 off to undergo surgery and chemotherapy. Sister Mary
                 Margaret told Biel a few weeks later that she would not
                 renew Biel’s contract for the next academic year, citing her
                 belief that Biel’s “classroom management” was “not strict”
                 and that “it was not fair . . . to have two teachers for the
                 children during the school year.”

                     Biel sued St. James in the United States District Court
                 for the Central District of California, alleging that her
                 termination violated the ADA, which prohibits employment
                 discrimination based on disability.       See 42 U.S.C.
                 § 12112(a). Following discovery, St. James moved for
                 summary judgment, arguing that the First Amendment’s
                 ministerial exception to generally applicable employment
                 laws barred Biel’s ADA claims. The district court agreed
                 and granted summary judgment for St. James.

                                             II.

                     We review de novo a district court’s grant of summary
                 judgment. Brunozzi v. Cable Commc’ns, Inc., 851 F.3d 990,
                 995 (9th Cir. 2017). We also apply de novo review to
                 determinations of law as well as to mixed questions of law
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                 and fact that implicate the Religion Clauses. Puri v. Khalsa,
                 844 F.3d 1152, 1157 (9th Cir. 2017).

                                              III.

                                               A.

                     Religious organizations enjoy a broad right to select their
                 own leaders. The Supreme Court confirmed in Hosanna-
                 Tabor Evangelical Lutheran Church & School v. E.E.O.C.
                 that, as part of that right, the First Amendment’s
                 Establishment and Free Exercise Clauses “bar the
                 government from interfering with the decision of a religious
                 group to fire one of its ministers.” 565 U.S. 171, 181 (2012);
                 see also U.S. Const. amend. I. The Court grounded this
                 principle in a longstanding historical and jurisprudential
                 concern with “political interference” in “matters of church
                 government as well as those of faith and doctrine.” Id. at
                 184, 186 (citations omitted). When the ministerial exception
                 applies, it categorically bars an employee’s suit under
                 otherwise generally applicable employment laws. Puri v.
                 Khalsa, 844 F.3d 1152, 1164 (9th Cir. 2017). When the
                 ministerial exception does not apply, “courts [may] decide
                 disputes involving religious organizations,” so long as they,
                 in accordance with the Religion Clauses, proceed “‘without
                 resolving [any] underlying controversies over religious
                 doctrine.’” Id. (quoting Maktab Tarighe Oveyssi Shah
                 Maghsoudi, Inc. v. Kianfar, 179 F.3d 1244, 1248 (9th Cir.
                 1999)). These principles guide our analysis here.

                     Biel does not dispute that St. James, as a part of the
                 Roman Catholic Archdiocese of Los Angeles, is the type of
                 religious organization that could potentially invoke the
                 ministerial exception as a defense. The disagreement here is
                 over whether Biel’s employment fell within the exception.
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                     In Hosanna-Tabor, the Supreme Court expressly
                 declined to adopt “a rigid formula for deciding when an
                 employee qualifies as a minister,” and instead considered
                 “all the circumstances of [the plaintiff’s] employment.”
                 565 U.S. at 190. Hosanna-Tabor is the only case in which
                 the Supreme Court has applied the ministerial exception, so
                 its reasoning necessarily guides ours as we consider the
                 circumstances here.

                     Hosanna-Tabor involved a former teacher at a Lutheran
                 school, Cheryl Perich, who alleged that the school fired her
                 in violation of the ADA after she was diagnosed with
                 narcolepsy. Id. at 178–79. The Court focused on four major
                 considerations to determine if the ministerial exception
                 applied: (1) whether the employer held the employee out as
                 a minister, (2) whether the employee’s title reflected
                 ministerial substance and training, (3) whether the employee
                 held herself out as a minister, and (4) whether the
                 employee’s job duties included “important religious
                 functions.” Id. at 192. Based on the totality of the
                 circumstances, the Court concluded that Perich qualified as
                 a minister for purposes of the ministerial exception.

                      First, the evangelical Lutheran church that operated the
                 school in Hosanna-Tabor “held Perich out as a minister,
                 with a role distinct from that of most of its members.” Id. at
                 191. Its congregation granted her the title of “Minister of
                 Religion, Commissioned” after electing her to that position.
                 Id. In conjunction with that commission, the “congregation
                 undertook to periodically review Perich’s ‘skills of ministry’
                 . . . and to provide for her ‘continuing education as a
                 professional person in the ministry of the Gospel.’” Id.

                     Second, to be eligible to become a commissioned
                 minister, Perich needed a substantial amount of religious
                 training. She “had to complete eight college-level courses
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                 in subjects including biblical interpretation, church doctrine,
                 and the ministry of the Lutheran teacher” and pass an oral
                 examination by a Lutheran college faculty committee. Id.
                 She also had to obtain the endorsement of her local Lutheran
                 synod by submitting letters of recommendation, a personal
                 statement, and “written answers to various ministry-related
                 questions.” Id. These training requirements took Perich six
                 years to complete.

                     Because of her status as a commissioned minister, Perich
                 was eligible for, and succeeded in obtaining, a special
                 category of teaching position: that of a “called” teacher. Id.
                 at 177–78. In contrast to “lay” teachers who had one-year
                 renewable terms, called teachers had open-ended contracts
                 that “could be rescinded only for cause and by a
                 supermajority vote of the congregation.” Id at 177. The
                 school hired lay teachers only when called teachers were
                 unavailable, even though all teachers performed the same
                 duties in the classroom. Id.

                     Third, Perich “held herself out as a minister of the
                 Church.” Id. at 191. She claimed a federal tax benefit
                 reserved for employees “earning their compensation” in “the
                 exercise of the ministry.” Id. at 192. And she described
                 herself as “feel[ing] that God [was] leading [her] to serve in
                 the teaching ministry.” Id.

                     Fourth, Perich had an “important role in transmitting the
                 Lutheran faith to the next generation.” Id. at 192. In addition
                 to teaching her fourth grade students various secular and
                 religious subjects, Perich led them in prayer three times a
                 day. Id. Twice a year, she also led a school-wide chapel
                 service at which she “cho[se] the liturgy, select[ed] the
                 hymns, and deliver[ed] a short message based on verses from
                 the Bible.” Id.
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                     Only after describing all of these aspects of Perich’s
                 position did the Supreme Court hold: “In light of these
                 considerations—the formal title given Perich by the Church,
                 the substance reflected in that title, her own use of that title,
                 and the important religious functions she performed for the
                 Church—we conclude that Perich was a minister covered by
                 the ministerial exception.” Id.

                     Biel, by contrast, has none of Perich’s credentials,
                 training, or ministerial background. There was no religious
                 component to her liberal studies degree or teaching
                 credential. St. James had no religious requirements for her
                 position. And, even after she began working there, her
                 training consisted of only a half-day conference whose
                 religious substance was limited. Unlike Perich, who joined
                 the Lutheran teaching ministry as a calling, Biel appears to
                 have taken on teaching work wherever she could find it:
                 tutoring companies, multiple public schools, another
                 Catholic school, and even a Lutheran school.

                     Nor did St. James hold Biel out as a minister by
                 suggesting to its community that she had special expertise in
                 Church doctrine, values, or pedagogy beyond that of any
                 practicing Catholic. St. James gave her the title “Grade 5
                 Teacher.” Her employment was at-will and on a yearlong
                 renewable contract, unlike Perich’s unlimited term that
                 could only be ended by a supermajority vote of the
                 congregation. The dissent’s analysis of Biel’s title focuses
                 on her duties at the school—as opposed to her education,
                 qualifications, and employment arrangement—and thus
                 improperly collapses considerations that the Supreme Court
                 treated separately. 2 Looking only to what the Court treated

                      2
                        The dissent also ascribes the title “Catholic school educator” to
                 Biel, but nowhere in St. James’s briefing or summary judgment papers
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                 as relevant to evaluating a job title, there is nothing religious
                 “reflected in” Biel’s title. Hosanna-Tabor, 565 U.S. at 192.
                 In contrast to Perich’s “Minister of Religion,
                 Commissioned,” and “called” teacher titles, it cannot be said
                 that Grade 5 Teacher “conveys a religious—as opposed to
                 secular—meaning.” 3 Conlon v. InterVarsity Christian
                 Fellowship, 777 F.3d 829, 834–35 (6th Cir. 2015).

                     Also in contrast to Perich, nothing in the record indicates
                 that Biel considered herself a minister or presented herself
                 as one to the community. She described herself as a teacher
                 and claimed no benefits available only to ministers.

                     Only with respect to the fourth consideration in
                 Hosanna-Tabor do Biel and Perich have anything in
                 common: they both taught religion in the classroom. Biel
                 taught lessons on the Catholic faith four days a week. She
                 also incorporated religious themes and symbols into her
                 overall classroom environment and curriculum, as the school
                 required. We do not, however, read Hosanna-Tabor to
                 indicate that the ministerial exception applies based on this
                 shared characteristic alone. If it did, most of the analysis in
                 Hosanna-Tabor would be irrelevant dicta, given that
                 Perich’s role in teaching religion was only one of the four



                 has St. James ever suggested that this general description of its
                 employees was part of Biel’s title.

                     3
                         We do not suggest that Biel’s lack of a ministerial title is
                 dispositive, nor do we “ma[ke] ordination status or formal title
                 determinative of the exception’s applicability.”        Hosanna-Tabor
                 Evangelical Lutheran Church & Sch. v. E.E.O.C., 565 U.S. 171, 202
                 (2012) (Alito, J., concurring). But, like the Supreme Court in Hosanna-
                 Tabor, we look to her title as shorthand for “the substance reflected in
                 that title.” Id. at 192.
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                 characteristics the Court relied upon in reaching the
                 conclusion that she fell within the ministerial exception.

                     And even Biel’s role in teaching religion was not
                 equivalent to Perich’s. In Hosanna-Tabor, the Supreme
                 Court emphasized the importance of assessing both the
                 amount of time spent on religious functions and “the nature
                 of the religious functions performed.” 565 U.S. at 194
                 (emphasis added); see also id. at 204 (Alito, J., concurring)
                 (“What matters is that [the individual] played an important
                 role as an instrument of her church’s religious message and
                 as a leader of its worship activities.”). Biel’s role in Catholic
                 religious education was limited to teaching religion from a
                 book required by the school and incorporating religious
                 themes into her other lessons. Whereas Perich orchestrated
                 her students’ daily prayers, Biel’s students themselves led
                 the class in prayers. Biel gave students the opportunity to
                 lead the prayers and joined in, but she did not teach, lead, or
                 plan these devotions herself. Similarly, while Perich crafted
                 and led religious services for the school, Biel’s
                 responsibilities at St. James’s monthly Mass were only “to
                 accompany her students,” and “[t]o make sure the kids were
                 quiet and in their seats.” These tasks do not amount to the
                 kind of close guidance and involvement that Perich had in
                 her students’ spiritual lives.

                                                B.

                     St. James argues that we should reach a contrary
                 conclusion in light of the Seventh Circuit’s recent decision
                 in Grussgott v. Milwaukee Jewish Day School, Inc., 882 F.3d
                 655 (7th Cir. 2018), which held that the ministerial exception
                 barred a Hebrew teacher’s employment discrimination suit
                 against a Jewish primary school that fired her after she was
                 diagnosed with a brain tumor. Even assuming Grussgott was
                 correctly decided, which we are not sure it was, the plaintiff
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                 in Grussgott more closely resembled Perich than Biel does.
                 Although the plaintiff in Grussgott lacked a formal religious
                 title, she had obtained a certification in a Jewish curricular
                 program called Tal Am—a curriculum that involved
                 integrating religious teachings into Hebrew lessons, as the
                 Seventh Circuit noted in its analysis of the plaintiff’s job
                 title. Id. at 659. The plaintiff had also “tout[ed] significant
                 religious teaching experience,” which “was a critical factor
                 in the school hiring her.” Id. at 659. She also prayed and
                 performed rituals with her students. Id. at 660. For the
                 reasons discussed above, Biel’s role was less ministerial than
                 that of the plaintiff in Grussgott.

                     The other post-Hosanna-Tabor cases on which St. James
                 relies are likewise not analogous to this one. All of the
                 plaintiffs in those cases had responsibilities that involved
                 pronounced religious leadership and guidance. 4 In contrast,
                 although Biel taught religion, the other considerations that
                 guided the reasoning in Hosanna-Tabor and its progeny are

                     4
                       See, e.g., Fratello v. Archdiocese of New York, 863 F.3d 190, 205–
                 08 (2d Cir. 2017) (principal who oversaw daily prayers, supervised
                 planning for Masses, delivered religious speeches, and was required to
                 obtain catechist certification and demonstrate “proficiency” in religious
                 areas); Conlon v. InterVarsity Christian Fellowship, 777 F.3d 829, 835–
                 36 (6th Cir. 2015) (certified “spiritual director” for an organization with
                 the mission to evangelize students on college campuses whose duties
                 included assisting others in finding “intimacy with God and growth in
                 Christ-like character”); Cannata v. Catholic Diocese of Austin, 700 F.3d
                 169, 177-78 (5th Cir. 2012) (Church music director who independently
                 selected music for Mass, trained cantors, and was “a lay liturgical
                 minister actively participating in the sacrament”); Temple Emanuel of
                 Newton v. Mass. Comm’n Against Discrimination, 975 N.E.2d 433, 443–
                 44 (Mass. 2012) (plaintiff who taught only religious subjects at a
                 synagogue’s religious school that convened only after the regular school
                 day and on Sundays and did not provide any instruction in non-religious
                 subjects).
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                 not present here. Biel did not have ministerial training or
                 titles. And she neither presented herself as nor was
                 presented by St. James as a minister. At most, only one of
                 the four Hosanna-Tabor considerations weighs in St.
                 James’s favor. No federal court of appeals has applied the
                 ministerial exception in a case that bears so little
                 resemblance to Hosanna-Tabor. See, e.g., Grussgott,
                 882 F.3d at 661 (applying exception where “two of the four
                 Hosanna-Tabor factors are present”); Conlon, 777 F.3d at
                 835 (same). We decline St. James’s invitation to be the first.

                                              C.

                     A contrary rule, under which any school employee who
                 teaches religion would fall within the ministerial exception,
                 would not be faithful to Hosanna-Tabor or its underlying
                 constitutional and policy considerations. Such a rule would
                 render most of the analysis in Hosanna-Tabor irrelevant. It
                 would base the exception on a single aspect of the
                 employee’s role rather than on a holistic examination of her
                 training, duties, title, and the extent to which she is tasked
                 with transmitting religious ideas.

                     Such a rule is also not needed to advance the Religion
                 Clauses’ purpose of leaving religious groups free to “put
                 their faith in the hands of their ministers.” Hosanna-Tabor,
                 565 U.S. at 188. As the Supreme Court recounted in
                 Hosanna-Tabor, the historical episodes that motivated the
                 adoption of the Religion Clauses included struggles over
                 whether the choice of parish ministers would be made by
                 local vestries or instead by the British monarch, the Bishop
                 of London, or colonial governors. Id. at 183. The Court
                 likewise cited First Amendment architect James Madison’s
                 opinion that the President ought to have no role in the
                 appointment of the Catholic Church’s leadership in the
                 territory of the Louisiana Purchase. Id. at 184. Although the
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                 Supreme Court held that “the ministerial exception is not
                 limited to the head of a religious congregation,” id. at 190,
                 the focus on heads of congregations and other high-level
                 religious leaders in the historical backdrop to the First
                 Amendment supports the notion that, to comport with the
                 Founders’ intent, the exception need not extend to every
                 employee whose job has a religious component. 5

                     The First Amendment “insulates a religious
                 organization’s ‘selection of those who will personify its
                 beliefs.’” Puri, 844 F.3d at 1159 (quoting Hosanna-Tabor,
                 565 U.S. at 188). But it does not provide carte blanche to
                 disregard antidiscrimination laws when it comes to other
                 employees who do not serve a leadership role in the faith.
                 We cannot read Hosanna-Tabor to exempt from federal
                 employment law all those who intermingle religious and
                 secular duties but who do not “preach [their employers’]

                     5
                        Indeed, Congress has specified that nothing in the ADA or Title
                 VII prohibits a religious organization from favoring members of a
                 particular religion in its hiring decisions. See 42 U.S.C. § 12113(d)(1)
                 (stating that the ADA “shall not prohibit a religious [organization] from
                 giving preference in employment to individuals of a particular religion
                 to perform work connected with the carrying on . . . of its activities.”);
                 42 U.S.C. § 2000e-1(a) (stating that Title VII “shall not apply to . . . a
                 religious [organization] with respect to the employment of individuals of
                 a particular religion to perform work connected with the carrying on . . .
                 of its activities.”). But Congress did not exempt religious organizations
                 from the ADA’s or Title VII’s prohibitions on discriminating on the basis
                 of disability, race, color, sex, or national origin. That choice, coupled
                 with the presumption of constitutionality enjoyed by congressional
                 legislation, makes us especially hesitant to invalidate unnecessarily vast
                 swaths of federal law as applied to many employees of religious
                 organizations. See United States v. Watson, 423 U.S. 411, 416 (1976)
                 (recognizing that a “strong presumption of constitutionality [is] due to
                 an Act of Congress” (quoting United States v. Di Re, 332 U.S. 581, 585
                 (1948)).
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                 beliefs, teach their faith, . . . carry out their mission . . . [and]
                 guide [their religious organization] on its way.” 565 U.S. at
                 196.

                                                   IV.

                    For the foregoing reasons, we REVERSE the district
                 court’s grant of summary judgment to St. James and
                 REMAND. 6



                 FISHER, Circuit Judge, dissenting:

                     This appeal concerns whether Kristen Biel, a fifth grade
                 teacher at a Roman Catholic elementary school, was a
                 “minister” for the purposes of the ministerial exception.
                 Contrary to the majority, I conclude that Biel was a minister.
                 As a result, I would affirm the District Court’s decision that
                 Biel is barred from bringing an action against St. James
                 under the Americans with Disabilities Act.




                      6
                        On remand, St. James may of course argue that it did not violate
                 the ADA because its stated pedagogical and classroom management
                 concerns—not Biel’s medical condition—were the basis for its decision
                 not to renew Biel’s contract. See Snead v. Metro. Prop. & Cas. Ins. Co.,
                 237 F.3d 1080, 1093 (9th Cir. 2001) (explaining that a nondiscriminatory
                 and non-pretextual reason for termination is a defense to an ADA claim).
                 Contrary to the dissent’s implication, had St. James asserted a religious
                 justification for terminating Biel, our holding would neither have
                 commanded nor permitted the district court to assess the religious
                 validity of that explanation, but rather only whether the proffered
                 justification was the actual motivation for termination, or whether not
                 wanting to accommodate Biel’s disability was the motivation.
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                                                     I

                     During Biel’s one year of service as a full-time fifth
                 grade teacher at St. James, her duties included teaching
                 religion as well as secular subjects. She taught 30-minute
                 religion classes four days a week. In her religion class, she
                 used the curriculum from Coming to God’s Life, a Catholic
                 textbook chosen by the school principal, Sister Mary
                 Margaret. Using that curriculum, Biel taught and tested the
                 students in her religion class about the Catholic sacraments,
                 the lives of Catholic Saints, Catholic prayers, Catholic social
                 teaching, Gospel stories, and church holidays. In her secular
                 classes, she was expected to incorporate Catholic teachings.
                 She attended, as required by the school, a one day conference
                 at the Los Angeles Religious Education Congress that
                 covered methods of incorporating God into lessons.

                     To get a complete picture of Biel’s role at St. James, we
                 look at various documents concerning her employment,
                 including her employment contract, a performance review,
                 and the faculty handbook. 1 Biel signed an employment
                 contract with St. James which indicated that her title was
                 “Grade 5 Teacher.” By signing the contract, Biel indicated
                 that she understood that St. James’s mission was “to develop
                 and promote a Catholic School Faith Community within the

                     1
                        The faculty handbook is specifically referenced in Biel’s
                 employment contract: “You shall be familiar with, and comply with the
                 School’s personnel policies and procedures . . . including policies in the
                 faculty handbook.” The handbook provides insight into St. James’s
                 expectations for faculty at the school. Like Biel’s performance review,
                 the handbook is a reflection of the role St. James intended Biel to fill.
                 Regardless of whether it imposed contractual obligations on Biel, it is
                 helpful to our determination of whether the relationship between Biel
                 and St. James was that of a minister and church or merely an employee-
                 employer relationship.
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                 philosophy of Catholic education as implemented at [St.
                 James], and the doctrines, laws, and norms of the Catholic
                 Church.” The contract also imposed several requirements on
                 Biel, mandating that she:

                        x   perform “[a]ll duties and responsibilities
                            . . . within [St. James’s] overriding
                            commitment [to developing the faith
                            community],”

                        x   “model, teach, and promote behavior in
                            conformity to the teaching of the Roman
                            Catholic Church,”

                        x   and “participate in School activities
                            including School liturgical activities, as
                            requested.”

                     Sister Mary Margaret conducted an observational review
                 of Biel’s teaching performance during her first semester as
                 the fifth grade teacher. Her review included a section
                 evaluating “Catholic Identity Factors” in which she noted
                 that there was “visible evidence of signs, sacramental [sic],
                 traditions of the Roman Catholic Church in the classroom,”
                 and that the “[c]urriculum include[d] Catholic values infused
                 through all subject areas.”

                     In the Faculty/Staff Handbook, the school’s mission
                 statement was supplemented by nine “basic values” guiding
                 the school faculty, including:

                        x   Faith – “To personally demonstrate our
                            belief in God . . . to actively take part in
                            worship-centered school events”; and
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                        x   Joy – “To delight in and enjoy our noble
                            position as Catholic educators . . . .”

                     The handbook also included the “Code of Ethics for
                 Professional Educators in Catholic Schools” which
                 explained that “[e]ducation has always been one of the most
                 important missions of the Church. Its success depends upon
                 the professional competence, quality, and commitment of
                 the teacher who chooses to teach in a Catholic school.” This
                 Code of Ethics detailed various commitments that Catholic
                 school teachers in the Archdiocese of Los Angeles were
                 expected to fulfill. It explained that “Catholic school
                 educators . . . are called to: Promote the peace of Christ in
                 the world,” and to:

                        Seek and encourage persons who live a life
                        consonant with gospel values and Catholic
                        Church teachings [and] pursue the apostolate
                        of teaching through the following:

                            - modeling the faith life and witness to the
                            Faith Community on the parish, diocesan,
                            national, and world levels;

                            - exemplifying the teachings of Jesus
                            Christ by dealing with children and adults
                            in true love and justice.

                     In a section titled “Statement of Principles,” the
                 handbook listed “religious development” as one of the five
                 goals of a St. James Catholic education. To achieve this goal,
                 “[the staff] guide the spiritual formation of the student . . .
                 and hope to help each child strengthen his/her personal
                 relationship with God.” The handbook further explained that
                 staff implement that goal by:
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                        Teaching the Gospel message and Catholic
                        doctrine in such a way as to make them
                        relevant to everyday life . . . Integrating
                        Catholic thought and principles into secular
                        subjects . . . Celebrating regularly scheduled
                        Masses and seasonal prayer . . . Encouraging
                        student participation in liturgical services . . .
                        Providing opportunities for developing
                        personal prayer and shared prayer in the
                        classroom.

                     In April of her year as the fifth grade teacher, Biel was
                 diagnosed with breast cancer. She informed Sister Mary
                 Margaret of the diagnosis and that she would begin
                 treatments in May. As described in the majority opinion,
                 Sister Mary Margaret informed Biel that St. James would not
                 renew her contract. Biel filed suit under the ADA, and St.
                 James moved for summary judgment, relying on the
                 ministerial exception. The District Court found the
                 ministerial exception barred Biel’s claims and granted the
                 motion. Biel filed this appeal.

                                                II

                     The ministerial exception is an affirmative defense that
                 “precludes application” of employment discrimination laws,
                 like the ADA, to “claims concerning the employment
                 relationship between a religious institution and its
                 ministers.” Hosanna-Tabor Evangelical Lutheran Church &
                 Sch. v. E.E.O.C., 565 U.S. 171, 188 (2012). I agree with the
                 majority, that the Supreme Court’s holding and reasoning in
                 Hosanna-Tabor guides our analysis here.

                    The ministerial exception flows from the First
                 Amendment; “[t]he Establishment Clause prevents the
                 Government from appointing ministers, and the Free
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                 Exercise Clause prevents it from interfering with the
                 freedom of religious groups to select their own.” Id. at 184.
                 The exception bars discrimination claims because “the
                 ministerial relationship lies so close to the heart of the church
                 that it would offend the Free Exercise Clause simply to
                 require the church to articulate a religious justification for its
                 personnel decisions.” Bollard v. Cal. Province of the Soc’y
                 of Jesus, 196 F.3d 940, 946 (9th Cir. 1999); see also N.L.R.B.
                 v. Catholic Bishop of Chi., 440 U.S. 490, 502 (1979) (In
                 discussing jurisdiction over religious schools, the Court
                 observed “[i]t is not only the conclusions that may be
                 reached by the Board which may impinge on rights
                 guaranteed by the Religion Clauses, but also the very process
                 of inquiry leading to findings and conclusions.”).

                     The purpose of the exception is to “ensure[] that the
                 authority to select and control who will minister to the
                 faithful—a matter ‘strictly ecclesiastical’—is the church’s
                 alone.” Hosanna-Tabor, 565 U.S. at 194–95 (citation
                 omitted) (quoting Kedroff v. St. Nicholas Cathedral of
                 Russian Orthodox Church in N. Am., 344 U.S. 94, 119
                 (1952)). Selection of such persons is a “core matter of
                 ecclesiastical self-governance with which the state may not
                 constitutionally interfere.” Bollard, 196 F.3d at 946. 2


                      2
                        The majority suggests that because the ADA and Title VII lack a
                 religious organization exemption, courts must take care not to
                 “invalidate unnecessarily vast swaths of federal law as applied to many
                 employees of religious organizations.” Maj. Op. at 15 n.5. However, the
                 ministerial exception is grounded in the First Amendment and operates
                 independently of any exception granted by Congress. In Bollard, we held
                 that “[d]espite the lack of a statutory basis for the ministerial exception,
                 and despite Congress’ apparent intent to apply Title VII to religious
                 organizations as to any other employer, courts have uniformly concluded
                 that the Free Exercise and Establishment Clauses . . . require a narrowing
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                     The term “minister” is a term of art broader than the
                 word’s ordinary meaning. It “encompasses more than a
                 church’s ordained ministers.” Alcazar v. Corp. of the
                 Catholic Archbishop of Seattle, 627 F.3d 1288, 1291 (9th
                 Cir. 2010). This is especially important because in our
                 religiously diverse society, the ministerial exception
                 recognized in Hosanna-Tabor must transcend the Protestant
                 Christian concept of “ministers” to protect self-governance
                 of all organizations of religious purpose. Hosanna-Tabor,
                 565 U.S. at 198 (Alito, J., concurring).

                     In Hosanna-Tabor, the teacher was a minister within the
                 Protestant Christian framework, serving at an Evangelical
                 Lutheran church and school. Courts must take care to apply
                 the principles from Hosanna-Tabor without discounting
                 ministerial relationships in contexts that do not bear the
                 obvious linguistic markers that were available for the
                 Court’s consideration in Hosanna-Tabor. The ministerial
                 exception “insulates a religious organization’s ‘selection of
                 those who will personify its beliefs’” regardless of whether
                 they bear the standard markers of a minister. Puri v. Khalsa,
                 844 F.3d 1152, 1159 (9th Cir. 2017) (quoting Hosanna-
                 Tabor, 565 U.S. at 188). The totality of the circumstances
                 approach serves that end, and “[a]s the Supreme Court has
                 made clear, there is no ‘rigid formula for deciding when an
                 employee qualifies as a minister.’” Id. (quoting Hosanna-
                 Tabor, 565 U.S. at 190).




                 construction” to prevent “constitutionally impermissible interference by
                 the government.” 196 F.3d at 945. We must apply the ministerial
                 exception in this case “in order to reconcile the statute with the
                 Constitution” regardless of whether the ADA contains an exception. Id.
                 at 947.
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                     To determine whether Biel is a minister for purposes of
                 the exception, I proceed in three parts. First, I will
                 summarize and examine the Supreme Court’s analysis of the
                 exception in Hosanna-Tabor. Second, I will consider how to
                 weigh the four Hosanna-Tabor factors in the context of this
                 case. Finally, I consider all of the circumstances of Biel’s
                 employment and conclude that the ministerial exception
                 applies.

                     A. Analytical framework provided by the Supreme
                        Court in Hosanna-Tabor

                     In Hosanna-Tabor, the Supreme Court concluded that a
                 “called teacher” at a Lutheran elementary school was a
                 minister for the purposes of the ministerial exception.
                 565 U.S. at 190. The Court evaluated “all the circumstances
                 of her employment.” Id. Within that totality of the
                 circumstances approach, the Court considered four factors:
                 “[1] the formal title given [to the teacher] by the Church,”
                 which the majority describes as whether the employer held
                 out the employee as a minister, “[2] the substance reflected
                 in that title, [3] her own use of that title, and [4] the important
                 religious functions she performed for the Church.” Id. at 192.
                 These factors indicate the importance of fact-intensive
                 analysis in the application of the ministerial exception.

                      Justice Alito, joined by Justice Kagan, concurred to
                 clarify that the employee’s function, rather than his or her
                 title or ordination status, is the key. Hosanna-Tabor,
                 565 U.S. at 198 (Alito, J., concurring). He went on to write
                 that the exception “should apply to any ‘employee’ who . . .
                 serves as a messenger or teacher of [the organization’s]
                 faith.” Id. at 199. He explained that “[r]eligious autonomy
                 means that religious authorities must be free to determine
                 who is qualified to serve in positions of substantial religious
                 importance,” which includes “those who are entrusted with
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                 teaching and conveying the tenets of the faith to the next
                 generation.” Id. at 200. Finally, Justice Alito described the
                 previous approach of the appellate courts, including this
                 Court, as a functional approach looking more at the functions
                 of individuals than at their titles, and concluded that “[t]he
                 Court’s opinion today should not be read to upset this
                 consensus.” Id. at 204.

                       Justice Thomas also concurred, explaining that, in his
                 view, courts applying the ministerial exception must “defer
                 to a religious organization’s good-faith understanding of
                 who qualifies as its minister.” Id. at 196 (Thomas, J.,
                 concurring). Justice Thomas reasoned that a “religious
                 organization’s right to choose its ministers would be hollow
                 . . . if secular courts could second-guess the organization’s
                 sincere determination that a given employee is a ‘minister.’”
                 Id. at 197. This approach, he maintained, best serves the
                 goals of the Free Exercise and Establishment Clauses
                 because it does not risk causing religious groups—especially
                 those outside of the mainstream—“to conform [their] beliefs
                 and practices regarding ‘ministers’ to the prevailing secular
                 understanding” for fear of being denied the exception. Id.
                 (citing Corp. of Presiding Bishop of Church of Jesus Christ
                 of Latter-day Saints v. Amos, 483 U.S. 327, 336 (1987)).

                     Since the publication of Hosanna-Tabor, we and other
                 circuits have relied on a “totality-of-the-circumstances test.”
                 Grussgott v. Milwaukee Jewish Day Sch., Inc., 882 F.3d 655,
                 661 (7th Cir. 2018), cert. denied, ___ S. Ct. ___ (2018); see
                 Puri, 844 F.3d at 1160 (holding that, on the pleadings, the
                 exception did not apply because of insufficient proof of
                 religious duties, lack of presentation of the individuals as
                 religious leaders, and absence of religious substance in the
                 positions); Conlon v. InterVarsity Christian Fellowship,
                 777 F.3d 829, 835 (6th Cir. 2015) (finding only two of the
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                 four factors applicable, but still holding that the “ministerial
                 exception clearly applies”); Fratello v. Archdiocese of New
                 York, 863 F.3d 190, 204–05 (2d Cir. 2017) (“Hosanna-
                 Tabor . . . neither limits the inquiry to [the four factors it
                 enumerates] nor requires their application in every case.”). I
                 will do the same here.

                    B. The Four Factors

                        i. Formal title

                     Biel argues that she is not a minister because nothing in
                 her formal title, Grade 5 Teacher, reflects a ministerial role.
                 “[A]n employee is more likely to be a minister if a religious
                 organization holds the employee out as a minister by
                 bestowing a formal religious title.” Puri, 844 F.3d at 1160.
                 In Hosanna-Tabor, this factor weighed in favor of applying
                 the exception because the school employed both “lay” and
                 “called” teachers, and the plaintiff was “called.” 565 U.S. at
                 177–78. “When Hosanna-Tabor extended her a call, it issued
                 her a ‘diploma of vocation’ according her the title ‘Minister
                 of Religion, Commissioned.’” Id. at 191. Here, Biel never
                 received any diploma or commissioning from the parish
                 comparable to the teacher in Hosanna-Tabor. Her title is
                 apparently secular.

                    However, as the majority recognizes, a title is merely an
                 expression of how an employer holds its employee out to the
                 community. Part of St. James’s expression of Biel’s role in
                 the school is her designation as a “Catholic school
                 educator[]” in the school’s Code of Ethics. The Code
                 conveyed to the community that Catholic school educators
                 such as Biel would, among other things, “[p]romote the
                 peace of Christ in the world.” Biel’s title is presumably both
                 “Catholic school educator[]” and “Grade 5 Teacher,” the
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                 former contextualizing the latter. St. James thus holds Biel
                 out as a distinctively Catholic Grade 5 Teacher.

                     This first factor could therefore indicate that Biel was a
                 minister. In fact, some of the “called” language that was
                 important to determining that the teacher in Hosanna-Tabor
                 was a minister is also present in the faculty handbook in this
                 case. For instance, in the Code of Ethics, under
                 “Commitment to the Community,” the handbook reads “As
                 Catholic school educators, we are called to . . . [p]romote the
                 peace of Christ in the world.” (emphasis added).

                      Although it seems strained to read Biel’s title as “Grade
                 5 Teacher” without considering references in the handbook
                 to St. James’s teachers as “Catholic school educators,” such
                 a reading may be appropriate at this stage in order to draw
                 reasonable inferences in Biel’s favor. Therefore, in the
                 Hosanna-Tabor analysis, I consider Biel’s title to be secular.
                 This factor therefore weighs against recognizing her as a
                 minister. However, her title is not dispositive. Id. at 193
                 (“[A] title, by itself, does not automatically ensure
                 coverage.”); id. at 202 (Alito, J., concurring) (a ministerial
                 title is “neither necessary nor sufficient.”).

                        ii. Substance reflected in the title

                     In Hosanna-Tabor, this factor weighed in favor of
                 applying the exception. The called teacher’s title of
                 “commissioned minister” reflected “a significant degree of
                 religious training,” including college-level theology,
                 “followed by a formal process of commissioning.”
                 Hosanna-Tabor, 565 U.S. at 191. In contrast, Biel received
                 no religious commissioning and her formal education
                 consisted of a university degree in liberal studies and a
                 teaching certification. She was not required to be endorsed
                 by the parish or to go through extensive training.
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                     The majority focuses narrowly on educational and
                 practical training for the second factor in the Hosanna-Tabor
                 analysis. However, I do not understand this second factor to
                 be limited to education and practical training. The substance
                 reflected in a title is broader than mere educational or
                 practical prerequisites. See Grussgott, 882 F.3d at 659–660.
                 Considering other elements under the second factor
                 facilitates the ministerial exception’s application to different
                 religions, including those that may not require formal
                 training for ministers. It also compliments Justice Thomas’s
                 emphasis on the religious organization’s own sincere
                 determination of who ministers the faith. Hosanna-Tabor,
                 565 U.S. at 196–97 (Thomas, J., concurring). If we expected
                 all ministers to receive formal religious education, we would
                 improperly restrict the exception.

                      Instead, I conclude that the substance underlying Biel’s
                 title at St. James consists of the school’s expectation, to
                 which Biel specifically consented in her employment
                 contract, that she propagate and manifest the Catholic faith
                 in all aspects of the role. Importantly, the substance of Biel’s
                 title of Grade 5 Teacher encompassed the role of religion
                 teacher.

                     The approach of analyzing the second factor as reflective
                 of how the religious organization understood an employee’s
                 role is also consistent with at least two of our sister Circuits’
                 interpretations. In Fratello, the Second Circuit ultimately
                 concluded that a “lay principal” of a Catholic elementary
                 school was a minister. 863 F.3d at 206, 210. In evaluating
                 this title, the court observed that though the principal was
                 “not strictly required to meet any formal religious-education
                 requirements, the substance reflected in that title as used by
                 the defendants and conveyed to the plaintiff entails
                 proficiency in religious leadership.” Id. at 208. Similarly, the
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                 Seventh Circuit in Grussgott held that the second factor
                 weighed in favor of applying the exception to a Hebrew
                 language teacher at a Jewish school, not only because of her
                 religious training, but also because “the substance of [the
                 teacher’s] title as conveyed to her and as perceived by others
                 entails the teaching of the Jewish religion to students.”
                 882 F.3d at 659–60.

                     The majority distinguishes Grussgott based on the
                 teacher’s Tal Am certification, but in Grussgott, the Seventh
                 Circuit specifically noted that there was nothing in the record
                 indicating what the Tal Am certification entailed beyond
                 completion of seminars. Id. at 659. Though the Seventh
                 Circuit found that the teacher’s Tal Am certification was not
                 material to its analysis, the court nevertheless held that the
                 teacher’s curriculum and experience teaching religion
                 “support[ed] the application of the ministerial exception” at
                 the second factor. Id. at 660. Contrary to the majority’s
                 conclusion, this case is not distinguishable from Grussgott
                 based on a certification that may or may not have indicated
                 any significant degree of education or training. The Seventh
                 Circuit’s consideration of curriculum and teaching
                 experience under the second Hosanna-Tabor factor supports
                 the conclusion that this factor encompasses more than just
                 training.

                     Even more explicitly than in Grussgott, the substance of
                 Biel’s title as the Grade 5 Teacher encompasses her
                 responsibility for all facets of her pupils’ education, which
                 unquestionably includes religion class and imparting the
                 substantive teachings of the Catholic faith. In addition to her
                 role as the religion teacher, Biel agreed in her contract that
                 she “understood that the mission of the School [was] to
                 develop and promote a Catholic School Faith Community
                 within the philosophy of Catholic education as implemented
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                 at the School, and the doctrines, laws and norms of the
                 Catholic Church.” The faculty handbook extensively
                 prescribes how the faculty should model the Catholic faith
                 and promote religious development. Additionally, Biel was
                 required to attend a Catholic education conference, which
                 focused on incorporating religion into lesson plans. Finally,
                 her contract was approved by both St. James’s principal,
                 Sister Mary Margaret, and the pastor of the parish, and it
                 clarified that her role as a fifth grade teacher included
                 teaching religion, specifically the Catholic faith. Because all
                 of these expectations were included in Biel’s role and in the
                 title given to her by St. James, I conclude that her title
                 reflected significant religious substance. This factor
                 therefore weighs in favor of applying the exception.

                        iii. Biel’s own use of the title

                     “[A]n employee who holds herself out as a religious
                 leader is more likely to be considered a minister.” Puri,
                 844 F.3d at 1160. In Hosanna-Tabor, the teacher “held
                 herself out as a minister of the Church” in several ways,
                 including “accepting the formal call to religious service,”
                 “claim[ing] a special housing allowance on her taxes”
                 available only to ministers, and indicating, post-termination,
                 “that she regarded herself as a minister at Hosanna-Tabor.”
                 565 U.S. at 191–92. Here, although Biel taught her students
                 the tenets of the Catholic faith, she did not present herself to
                 the public as a minister. See Conlon, 777 F.3d at 835
                 (concluding that this factor was not present when the
                 employee did not have a “public role of interacting with the
                 community as an ambassador of the faith”). This factor
                 therefore weighs against concluding that Biel was a minister.
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                        iv. Important religious functions performed

                     In Puri, this Court emphasized that employees who have
                 “a role in conveying the Church’s message and carrying out
                 its mission” are likely ministers “even if [they] devote[] only
                 a small portion of the workday to strictly religious duties.”
                 Puri, 844 F.3d at 1160 (internal citation and alterations
                 omitted). In Hosanna-Tabor, the teacher was responsible for
                 “‘leading others toward Christian maturity’ and ‘teaching
                 faithfully the Word of God, the Sacred Scriptures, in its truth
                 and purity and as set forth in all the symbolical books of the
                 Evangelical Lutheran Church.’” 565 U.S. at 192 (alterations
                 omitted) (quoting the record). The Hosanna-Tabor teacher
                 taught religion four days a week, led her students in prayer
                 three times a day, took students to school-wide chapel
                 services once a week, and led that chapel service
                 approximately twice a year. Id. Based on those duties, the
                 Supreme Court concluded that “[a]s a source of religious
                 instruction, [the teacher] performed an important role in
                 transmitting the Lutheran faith to the next generation.” Id.
                 The Court indicated that it would be error to give too much
                 weight to secular duties performed in addition to religious
                 ones or to the fact that “others not formally recognized as
                 ministers . . . perform the same functions.” Id. at 193.

                     Biel’s duties as the fifth grade teacher and religion
                 teacher are strikingly similar to those in Hosanna-Tabor.
                 She taught religion class four times a week based on the
                 catechetical textbook Coming to God’s Life. In that class, she
                 was responsible for instructing her students on various areas
                 of Catholic teachings, including Catholic sacraments,
                 Catholic Saints, Catholic social teaching, and Catholic
                 doctrine related to the Eucharist and the season of Lent. She
                 prayed Catholic prayers with her students twice each day and
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                 attended monthly school mass with her class. 3 Additionally,
                 she, like all teachers at St. James, was evaluated on
                 incorporating “signs, sacramental [sic], [and] traditions of
                 the Roman Catholic Church in the Classroom” and
                 “infus[ing] [Catholic values] through all subject areas.” “As
                 a source of religious instruction, [she] performed an
                 important role in transmitting the [Catholic] faith to the next
                 generation.” Id. at 192. For these reasons, this factor weighs
                 heavily in favor of considering Biel to be a minister. Biel
                 was “expected to model, teach, and promote behavior in
                 conformity to the teaching of the Roman Catholic Church”
                 according to her employment contract, and was subject to
                 termination if she failed to meet that expectation.

                     This analysis comports with the approach of the Seventh
                 Circuit which held that a Hebrew language teacher
                 “performed ‘important religious functions’ for the school”
                 when she “taught her students about Jewish holidays, prayer,
                 and the weekly Torah readings . . . [and] practiced the
                 religion alongside her students by praying with them and
                 performing certain rituals.” Grussgott, 882 F.3d at 660
                 (quoting Hosanna-Tabor, 565 U.S. at 192). The duties of the
                 teacher in Grussgott are found in Biel’s case as well. My

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                       The majority interprets Biel’s testimony to be that she joined her
                 students in prayer, but did not lead the fifth graders in prayer. However,
                 the record indicates that Biel’s prayer leaders led the class in prayer: “I
                 had prayer leaders. The prayers that were said in the classroom were said
                 mostly by the students. We had prayer leaders.” The faculty handbook
                 set the expectation that Biel would “[p]rovid[e] opportunities for
                 developing personal prayer and shared prayer in the classroom.” Under
                 “Daily Prayer” in the “Staff Guidelines and Responsibilities” section of
                 the faculty handbook, there is a school-wide policy of beginning and
                 ending the day with prayer. To accept Biel’s testimony that she merely
                 joined the fifth graders in their prayers minimizes significant portions of
                 the record.
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                 conclusion on this factor is also consistent with the Sixth
                 Circuit’s approach in Conlon, which ruled that job duties
                 such as “assist[ing] others to cultivate ‘intimacy with God
                 and growth in Christ-like character through personal and
                 corporate spiritual disciplines’” constituted important
                 religious functions. 777 F.3d at 835.

                     It is clear that Biel’s job duties “reflected a role in
                 conveying the Church’s message and carrying out its
                 mission.” Hosanna-Tabor, 565 U.S. at 192. However, Biel
                 argues that whatever her duties were, she executed them in a
                 decidedly secular manner. She claims that her religious
                 instruction was straight out of a textbook—just like with
                 secular classes—and that her only job at mass was “to make
                 sure the kids were quiet and in their seats.” Appellant’s Br.
                 at 47. Her claim that she executed her duties in a secular
                 manner directly conflicts with her contractual agreement to
                 “integrate Catholic thought” into subjects, “celebrate
                 regularly scheduled Masses . . . with students,” and
                 “encourage student participation in liturgical services.” In
                 fact, under “Staff Guidelines and Responsibilities” in the
                 handbook, teachers are specifically expected to do more than
                 merely keep their elementary students quiet during mass—
                 they are expected to prepare their students for mass:
                 “Teachers prepare their students to be active participants at
                 Mass, with particular emphasis on Mass responses.” Biel
                 indicated that her students participated in mass by presenting
                 the gifts, i.e., the Eucharist. Biel’s students were trained to
                 present the gifts, and Biel was available to review the
                 practice with them if necessary. Biel’s role at mass was also
                 to personally demonstrate her faith through active
                 participation in “worship-centered school events.” Biel’s
                 role as an “exemplar[] of practicing” Catholics would not
                 make her a minister if that were her only religious function.
                 See E.E.O.C. v. Miss. College, 626 F.2d 477, 485 (5th Cir.
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                 1980). But because the determination of who is a minister is
                 a totality of the circumstances test, I consider “all the
                 circumstances of her employment” in the assessment of her
                 role. Hosanna-Tabor, 565 U.S. at 190.

                     Biel’s argument that she performed her duties in a
                 secular manner invites the very analysis the ministerial
                 exception demands we avoid. The courts may not evaluate
                 the relative importance of a ministerial duty to a religion’s
                 overall mission or belief system. The very duties that Biel
                 attempts to trivialize, e.g. teaching Church doctrine and
                 requiring participation and attentiveness during mass, could
                 easily be considered essential to the faith and its conveyance
                 to the next generation, and she very well could have been
                 terminated for failures in this area.

                     Consideration of her claims in federal court would
                 require the evaluation of “the importance and priority of the
                 religious doctrine in question, with a civil factfinder sitting
                 in ultimate judgment of what the accused church really
                 believes, and how important that belief is to the church’s
                 overall mission.” Hosanna-Tabor, 565 U.S. at 206 (Alito, J.,
                 concurring). We must avoid entangling the courts in this sort
                 of analysis. In Alcazar, this Court cited a Seventh Circuit
                 case that discussed the kind of government interference in
                 religious affairs that the ministerial exception is designed to
                 avoid. 627 F.3d at 1292 (citing Tomic v. Catholic Diocese of
                 Peoria, 442 F.3d 1036, 1040 (7th Cir. 2006), abrogated by
                 Hosanna-Tabor, 565 U.S. 171)). The Tomic court explained
                 that if a suit were allowed to go forward between a minister
                 and a church, the church would defend its adverse
                 employment decision with a religious reason. The employee
                 would argue that the religious reason was a farce, and the
                 real reason was one prohibited by statute. In response the
                 church would provide evidence of the religious reason,
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                 which the employee would dispute. The court would then
                 have to “resolve a theological dispute” in the course of its
                 adjudication of the claim. Tomic, 442 F.3d at 1040 (citing
                 DeMarco v. Holy Cross High Sch., 4 F.3d 166, 171 (2d Cir.
                 1993)). The Religion Clauses do not permit such
                 entanglement in the affairs of religious organizations.

                     The Seventh Circuit rejected a similar argument in
                 Grussgott when the Hebrew teacher attempted to portray her
                 role as teaching from a “culturally” Jewish perspective rather
                 than a religious perspective. For example, the teacher
                 attempted to distinguish between “leading prayer, as
                 opposed to ‘teaching’ and ‘practicing’ prayer with her
                 students.” 882 F.3d at 660. Her argument did not prevail
                 because a teacher’s “opinion does not dictate what activities
                 the school may genuinely consider to be religious.” Id.
                 Similarly here, how Biel subjectively approached her duties
                 is not relevant, let alone determinative.

                      C. Consideration of all the circumstances

                    Because the Supreme Court refused “to adopt a rigid
                 formula,” this Court should not treat the four Hosanna-
                 Tabor factors as a strict test. Hosanna-Tabor, 565 U.S. at
                 190. Instead, the Court should take a step back and consider
                 whether “all the circumstances of [Biel’s] employment”
                 require that her claims be barred by the ministerial
                 exception. Id.

                     In reconciling the four factors with the totality of the
                 circumstances approach, the Seventh Circuit reasoned that
                 where two factors weighed in favor of the exception and two
                 weighed against, “it would be overly formalistic” to simply
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                 “call [the] case a draw.” Grussgott, 882 F.3d at 661. 4 I agree.
                 See also Conlon, 777 F.3d at 835 (applying ministerial
                 exception when two factors were present); Cannata v.
                 Catholic Diocese of Austin, 700 F.3d 169, 177 (5th Cir.
                 2012) (“Application of the exception . . . does not depend on
                 a finding that [the employee] satisfies” the four factors.). The
                 Seventh Circuit in Grussgott ultimately applied the
                 ministerial exception because “[t]he school intended [the
                 teacher] to take on a religious role, and in fact her job
                 entailed many functions that simply would not be part of a
                 secular teacher’s job.” 882 F.3d at 661. The court held that
                 “it [was] fair to say that, under the totality of the
                 circumstances in this particular case, the importance of [the
                 teacher’s] role as a ‘teacher of faith’ to the next generation
                 outweighed other considerations.” Id. (alteration omitted)
                 (quoting Hosanna-Tabor, 565 U.S. at 199 (Alito, J.,
                 concurring)). So too here.

                      In considering the complete picture of Biel’s
                 employment, I am struck by the importance of her
                 stewardship of the Catholic faith to the children in her class.
                 Biel’s Grade 5 Teacher title may not have explicitly
                 announced her role in ministry, but the substance reflected
                 in her title demonstrates that she was a Catholic school
                 educator with a distinctly religious purpose. The religious
                 purpose of Catholic school educators is not new to the
                 federal courts. The Supreme Court has long “recognized the
                 critical and unique role of the teacher in fulfilling the mission
                 of a church-operated school.” Catholic Bishop, 440 U.S. at
                 501 (discussing Lemon v. Kurtzman, 403 U.S. 602, 617
                 (1971)). Biel expressly acknowledged this purpose in her

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                        The Seventh Circuit described the Hebrew teacher’s title and
                 whether she held herself out as a minister as “formalistic factors . . .
                 greatly outweighed by [her] duties and functions.”
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                 contract, and committed herself to performing all “duties and
                 responsibilities . . . within [the] overriding commitment” of
                 St. James to “develop and promote a Catholic School Faith
                 Community within the philosophy of Catholic education.”
                 Biel acknowledged that her continued employment was
                 dependent upon her demonstrated ability to do so. Drawing
                 all inferences in Biel’s favor, it is still impossible to ignore
                 that her position at St. James was pervaded by religious
                 purpose.

                     Looking at each of the Hosanna-Tabor factors, and
                 considering the evidence in its totality without adherence to
                 a formulaic calculation, it appears that Biel was a minister,
                 though perhaps not as obviously as the teacher in Hosanna-
                 Tabor. However, the teacher in Hosanna-Tabor was within
                 the Protestant Christian framework, and therefore the
                 terminology of her employment very neatly fit within the
                 ministerial exception. We must not make the mistake of
                 tethering the exception too close to the Protestant Christian
                 concept of ministers. See Hosanna-Tabor, 565 U.S. at 198
                 (Alito, J., concurring).

                     The ministerial exception protects the relationship
                 between a church and its ministers. It does not require a
                 church to assert a religious reason for an employment
                 decision. I fear that the majority’s opinion will undermine
                 this protection. The majority holds that “had St. James
                 asserted a religious justification for terminating Biel, our
                 holding would neither have commanded nor permitted the
                 district court to assess the religious validity of that
                 explanation, but rather only whether the proffered
                 justification was the actual motivation for termination.” Maj.
                 Op. at 2 n.6. But the majority misses the point of the
                 ministerial exception, which is to shield the relationship
                 between a church and its ministers from the eyes of the court
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                 without requiring the church to provide a religious
                 justification for an adverse employment decision. Hosanna-
                 Tabor, 565 U.S. at 194–95 (“The purpose of the exception is
                 not to safeguard a church’s decision to fire a minister only
                 when it is made for a religious reason. The exception instead
                 ensures that the authority to select and control who will
                 minister to the faithful . . . is the church’s alone.”).

                                              ***

                     This case demonstrates that the First Amendment’s
                 guarantees are not without cost. The ADA protects some of
                 the most vulnerable people in our society from
                 discrimination. It is an incredibly important statutory
                 protection. But “[t]he First Amendment, of course, is a
                 limitation on the power of Congress,” and any exercise of
                 statutory rights under the ADA requires the courts “to decide
                 whether that [is] constitutionally permissible under the
                 Religion Clauses of the First Amendment.” Catholic Bishop,
                 440 U.S. at 499. We are necessarily bound by the Supreme
                 Court’s adoption of the ministerial exception, and its
                 guarantee of noninterference in religious self-governance. If
                 the exception is to provide sufficient protection for religious
                 freedom, courts must give the exception a broad application.
                 Puri, 844 F.3d at 1159.

                     In light of these considerations, Hosanna-Tabor, and all
                 the circumstances of this case, I would conclude that the
                 ministerial exception does apply to Biel in her capacity as
                 the fifth grade teacher at St. James because of the substance
                 reflected in her title and the important religious functions she
                 performed. These factors outweigh her formal title and
                 whether she held herself out as a minister. Ultimately, Biel
                 was “entrusted with teaching and conveying the tenets of the
                 faith to the next generation.” Hosanna-Tabor, 565 U.S. at
                 200 (Alito, J., concurring). Those responsibilities render her
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                 the “type of employee that a church must be free to appoint
                 or dismiss in order to exercise the religious liberty that the
                 First Amendment guarantees.” Id. at 206.

                                              III

                     For the above reasons, I respectfully dissent. I would
                 affirm the ruling of the District Court.
